            Case 1:17-cv-01235-LAS Document 38 Filed 09/22/22 Page 1 of 5



                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                            Electronically filed September 22, 2022

VIRGINIA MILTON and ARNOLD                   )
MILTON, et al.,                              )
                                             )
       Plaintiffs,                           )       Case No. 17-1235 L
                                             )
       v.                                    )
                                             )       Senior Judge Loren A. Smith
THE UNITED STATES OF AMERICA,                )
                                             )
       Defendant.                            )
                                             )

     FORMERLY APPOINTED DOWNSTREAM COUNSEL’S STATUS REPORT

       The Court conducted a status conference in this case on September 14, 2022 regarding the

Downstream litigation. During the hearing the Court commented that the re-appointment of

leadership for the Downstream litigation made sense due to the United States Court of Appeals for

the Federal Circuit’s remand in Milton v. United States, No. 2021-1131.

       The undersigned requested the opportunity to confer with all formerly appointed

Downstream counsel about their willingness to be reappointed and to report back to the Court

before an Order issued. The Court granted the request. To provide context for this report, a brief

timeline of the pertinent Orders follows:

       On December 5, 2017, the Court entered “Management Order No. 3 (Order Establishing

Sub-Master Docket for Downstream Claims),” which cited and partially restated the Court’s

November 20, 2017 Orders appointing Downstream leadership. In re Addicks and Barker (Texas)

Flood-Control Reservoirs, Master Docket No. 17-3000L, (ECF No. 2) (Fed. Cl. Dec 5, 2017).

Pursuant to the Orders, the following lawyers were appointed Downstream Plaintiffs’ leadership:




                                                 1
            Case 1:17-cv-01235-LAS Document 38 Filed 09/22/22 Page 2 of 5



       a.       Rand P. Nolen and Derek H. Potts “Co-Lead Counsel for Downstream Plaintiffs as

to Pre-Trial Discovery, Dispositive Motions for Partial or Summary Judgement and/or

Cross-Motions and/or a Trial on Liability, and Scheduling.” See In re Addicks and Barker (Texas)

Flood-Control Reservoirs, Master Docket No. 17-3000L, (ECF No. 69) (Fed. Cl. Nov. 20, 2017).

       b.       Richard Warren Mithoff “Co-Lead Counsel for Individual Downstream Plaintiffs

as to Pre-Trial Discovery, Dispositive Motions for Partial or Summary Judgement and/or Cross-

Motions and/or a Trial on Liability, and Scheduling.” See In re Addicks and Barker (Texas) Flood-

Control Reservoirs, Master Docket No. 17-3000L, (ECF No. 69) (Fed. Cl. Nov. 20, 2017).

       c.       Jack E. McGehee “Of Counsel for Individual Downstream Plaintiffs as to

Jurisdictional Discovery, the Government’s Motion to Dismiss, and Scheduling.” See In re Addicks

and Barker (Texas) Flood-Control Reservoirs, Master Docket No. 17-3000L, (ECF No. 67) (Fed.

Cl. Nov. 20, 2017).

       d.       Mr.    William     S.    Consovoy      and    Mr.     David     C.    Frederick,

“Co-Lead Counsel; Co-Lead Counsel for Downstream Plaintiffs as to Jurisdictional Discovery,

the Government’s Motion to Dismiss, and Scheduling.” See In re Addicks and Barker (Texas)

Flood-Control Reservoirs, Master Docket No. 17-3000L, (ECF No. 67) (Fed. Cl. Nov. 20, 2017).

       On February 18, 2020, the Court issued an Opinion and Order granting both Defendant’s

Motion to Dismiss and Cross-Motion for Summary Judgment. See In re Downstream Addicks and

Barker (Texas) Flood-Control Reservoirs, Docket No. 17-9002, (ECF No. 203) (Fed. Cl. Feb 18,

2020). On September 9, 2020, the Court entered “Order Rescinding Amended Management Order

No. 3 As It Relates To Newly Filed Cases” and dissolved the downstream leadership structure.

See In re Downstream Addicks and Barker (Texas) Flood-Control Reservoirs, Docket No. 17-9002

(ECF No. 236) (Fed. Cl. Sep 9, 2020).




                                               2
          Case 1:17-cv-01235-LAS Document 38 Filed 09/22/22 Page 3 of 5



       The undersigned has conferred with all formerly appointed counsel and advises the Court

that Rand P. Nolen, Richard Warren Mithoff, and Jack E. McGehee wish to serve and seek

reappointment. Derek H. Potts, William S. Consovoy, and David C. Frederick advised that they

do not wish to be reappointed.

Dated: September 22, 2022
                                                   Respectfully submitted,

                                                    /s/ Rand P. Nolen
                                                    Rand P. Nolen
                                                    FLEMING, NOLEN & JEZ L.L.P.
                                                    2800 Post Oak Blvd., Suite 4000
                                                    Houston, Texas 77056
                                                    Telephone: (713) 621-7944
                                                    rand_nolen@fleming-law.com

                                                    Counsel for Plaintiffs Virginia and Arnold
                                                    Milton

                                     Certificate of Service

         The undersigned attorney hereby certifies that a true and correct copy of the foregoing
instrument was served on the following opposing counsel and to Plaintiffs’ counsel of record as
reflected in the ECF notifications in Docket No. 17-9002 via email on September 22, 2022.

                                                    /s/ Rand P. Nolen
                                                    Rand P. Nolen

KRISTINE TARDIFF
WILLIAM J. SHAPIRO
SARAH IZFAR
LAURA N. DUNCAN
Trial Attorneys, Natural Resources Section
United States Department of Justice
Environment & Natural Resources Division
P.O. Box 7611
Washington, D.C. 20044-7611
Tel: (202) 305-0481
Fax: (202) 305-0506
Kristine.tardiff@usdoj.gov
William.Shapiro@usdoj.gov
Sarah.Izfar@usdoj.gov
Laura.Duncan@usdoj.gov

Attorneys for the United States


                                               3
        Case 1:17-cv-01235-LAS Document 38 Filed 09/22/22 Page 4 of 5



Allen Craig Eiland             Jeffrey L. Raizner                 Richard Warren Mithoff, Jr
ceiland@eilandlaw.com          efile@raiznerlaw.com               rmithoff@mithofflaw.com

Andrew Sullo                   John Clinton Schumacher            Riley L. Burnett, Jr
asullo@sullolaw.com            clint@dawsonsodd.com               rburnett@rburnettlaw.com

Anthony Glenn Buzbee           John Scott Black                   Samuel Charles Webb
tbuzbee@txattorneys.com        jblack@dalyblack.com               swebb@thecoxlawfirm.com

Anthony J. Antonellis          Emery Lawrence Vincent, Jr         Spencer G. Markle
aantonellis@sloanewalsh.com    lvincent@burnscharest.com          spencer@markledelacruz.com

Benjamin Russell Roberts       Eric Jonathan Rhine                Joseph K. Jones
broberts@chadpinkerton.com     erhine@spaglaw.com                 jjones@sloanfirm.com

Bryant Steven Banes            Eric Reed Nowak                    Kurt B. Arnold
bbanes@nhblaw.com              enowak@harrell-nowak.com           karnold@arnolditkin.com

Charles W. Irvine              Gary J. Siller                       Luke Joseph Ellis
charles@irvineconner.com       gary.siller@clarkhillstrasburger.com lellis@mehlaw.com

Christina Teresa Natale        Howard L. Nations                  Manuel E. Solis
christina@heardlawfirm.com     nations@howardnations.com          juansolislaw@gmail.com

Clayton A. Clark               Hsien Chun Chang                   Michael C. Falick, I
cclark@triallawfirm.com        hcchang@lawtx.com                  mfalick@rothfelderfalick.com

David Charles Frederick        Ian Heath Gershengorn              Michael J. Dulaney
dfrederick@kellogghansen.com   igershengorn@jenner.com            mdulaney@sjrm.com

Dax Frank Garza                Ian P. Cloud                       Tammy Tran
dax@daxgarzalaw.com            icloud@robinscloud.com             ttran@tt-lawfirm.com

Denman Hilton Heard            Jack Edward McGehee                Nancie Gail Marzulla
denman@heardlawfirm.com        jmcgehee@lawtx.com                 Nancie@marzulla.com

Derek Heath Potts              James L. Warren, III               Steven John Mitby
dpotts@potts-law.com           jwarren@cwplaw.com                 smitby@seilermitby.com

Don C. Griffin                 Jared R. Woodfill                  Timothy Micah Dortch
dgriffin@velaw.com             woodfillservice@gmail.com          mdortch@potts-law.com

Edward Blizzard                Noah Michael Wexler                Todd B. Denenberg
eblizzard@blizzardlaw.com      nwexler@arnolditkin.com            tdenenberg@dt-law.com

Edwin Armistead Easterby       Peter Kelley Taaffe                Vuk Vujasinovic
aeasterby@whlaw.com            ptaaffe@txattorneys.com            vuk@vbattorneys.com

 Jason A. Itkin                Philip M. Kanayan                  William David Mahoney
jitkin@arnolditkin.com         pmk@karstvonoiste.com              wmahoney@bmg-law.com




                                              4
        Case 1:17-cv-01235-LAS Document 38 Filed 09/22/22 Page 5 of 5



Jay Edelson               Rene Michelle Sigman         William Fred Hagans
jedelson@edelson.com      rsigman@merlinlawgroup.com   fhagans@hagans.law

                          Richard N. Laminack          William S. Consovoy
                          rickl@lpm-triallaw.com       will@consovoymccarthy.com




                                         5
